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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

KAMME O

Plaintiff, CIVIL ACTION No.
4;17-cV-03877

VS.

TEXAS A&M UNIVERSITY and
TEXAS A&M SYSTEM
*SEE ALSO ATTACHED LIST

JURY TRIAL DEMAND

WJWJWJWJWJWJWJWJWJWJWJW)

Defendants.

 

PLAINTIFF KAMME O's FIRST UNOPPOSED AMENDED COMPLAINT:

 

TO THE HONORABLE MAGISTRATE JUDGE NANCY K. JOHNSON:
COMES NOW pro se Plaintiff, Kamme O (“KammeO”),

complaining of fwfendants, TEXAS A&M UNIVERSITY (“TAMU”),
TEXAS A&M SYSTEM (“TAMUS”), related Defendants (See
attached list) and would respectfully show unto the Court
as follows:

O
LEGAL REPRESENTATION:

l.) Plaintiff qualified for “LEGAL AID”, except
LONESTAR LEGAL AID does not help with “fee generating
cases”. Plaintiff phoned, emailed, Tweeted, Facebook-ed and
emailed some +/-lOO Law Firms and lCIVIL RIGHTS

organizations = “too busy”. Plaintiff lives +/-100 miles

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Daw'd J. Bradiey, Clerk of Couri

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from a LEGAL LIBRARY and is doing her best to find out
about LAWS to cite - writing this is emotionally and

physically taxing = =H=write-panic-meditate-breathe-research-

 

write-panic-cry-write-research-write.(refer to DOCUMENT #10
& then DOCUMENT #19)

Plaintiff respectfully requests a serious, ethical
talented, Law Firm/Attorney to help her with this process

after 23+ years of experiences listed within the

 

Complaints.
I
JURISDICTION AND VENUE
l. The U.S. District Court for the Southern District of Texas

has jurisdiction over this matter pursuant to 28 U.S.C. § 1331
because the claims asserted in this Complaint arise under the
Constitution and laws of the United States.

Tirle vn ofrhe civil Righrs Acrbf1`9`64, as codi§ed, 42 U.s.C. §§ zoooe to 2000@-17 (race, §
2. . . . . .

golor, gender, rehgxon, natlonal ongm). §

 

3 . Age Discrimination in Employment Act of 1967, as codiHed, 29 U.S.C. §§ 621 to 634. §

 

Othel' federal law $peci]j) lhej?zdera[ law): §
§

 

4 " Texas Penal Code "Tampering with Governmental Records" PENAL-SECT-3 7-10.html
; Relevant state law (specifv, ifknown): '
TEXAS A&M SYSTEM REGULATIONS 08.01.01 and 33.99.01

 

 

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5. Venue is appropriate in this Court because a majority of
the events giving rise to this Complaint occurred in Brazos

County, Texas.

II
JURY DEMAND
6. A jury trial has previously been demanded and the
application of forma pauperis has been approved by the

Court.

III
ADMINISTRATIVE OR OTHER PREREQUISITES TO FILING SUIT SATISFIED

It is my best recollection that I filed a charge with the Equal Ernployment Opportunity Commission or
: my Equal Employment Oppo!tunity counselor regarding the defendant's alleged discriminatory conduct
ZOHHMQ) _ -

 

j 06~17-201$ *also 03-16/22-2000 to EEOC about TAMU, EBOC replied 03~21-2000.

 

 

IV
PLAINTIFF & HERSTORY

 

1. Plaintiff, Kamme O (KammeO) is an individual who is a
citizen of the State of Texas and a resident of
Robertson County, Texas.

2. Plaintiff moved to Texas July 2, 1992 from Florida (28%
unemployment rate = FOOD STAMPS) after having spent
most of her life growing up 20 miles outside of
Atlanta, Georgia, upper-middle~class.

3. She grew up enjoying being a “barn brat” at a nearby

stable that had over 250+ stalls.

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4. KammeO grew up riding horses to FIND OUT if they rode
and exercising polo ponies for the Atlanta Polo Club.
Saddling horses on weekends for the rental line; all
jobs that did not care about being male or female.

5. The Plaintiff never heard of Texas A&M before seeing
it. Her main priority was to be a parent for her 1 %
year old sonr

6. Plaintiff was first employed by the TEXAS A&M

UNIVERSITY beginning' August 13, 1992 as a Parking

 

Officer 1 for $6.19hr ($20 too much a month for FOOD
STAMPS, single parent)
7. The Plaintiff did not see it as reasonable to go into

debt for another student loan and spend her off time

 

away from her son, to possibly be allowed to perform
the job she already had at TAMU EHS 1999-2016.

8. Especially, since she already earned the CONSTRUCTION
experience fnl completing ijua Carpentry Apprenticeship
at TAMU 1995-1998.

9. KammeO's Fire-Safety Inspector, Pyrotechnics & Flame
Effects CERTIFICATIONS were shunned by the Defendants

1999-2016. She was not allowed to learn or perform most

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of her position descriptions - but she needed the job,
so she kept quiet mostly.

After what she had already been through at TAMU and
having not been able to locate an attorney back in
1996-2000 (The stress had affected her motor skills.)
“Two years work experience is supposed to count as one
year college” was not the experience KammeO received
while employed by TEXAS A&M UNIVERSITY, College
Station, Texas 77845. She was all but invisible.

JAMES RAINER refused to acknowledge or work with the
Plaintiff and TAMU encouraged the behavior by promoting
him over & over while her coworkers observed.

And then finally, “restructuring” Environmental Health
& Safety in an attempt to make it appear as if the
Plaintiff had not worked for JAMES RAINER - protecting
the very person the DEFENDANTS used to discriminate and
bully the Plaintiff, while also retaliating and
terminating her.

AFTER KammeO had been terminated, the Defendants TAMU
and TAMUS, restructured and renamed Human Resources to
be under the TAMU President.

EHS and HR had both been listed under the VP of Finance

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V
DEFENDANTS

A.Texas A&M System:
1.RAY BONIALLA - Managing Counsel
2.KAYE BALL - Claims Adjuster
B.Texas A&M University
1. MICHAEL K. YOUNG - TAMU President
2. MARK HUSSEY ~ Professor/Interim TAMU President
3. BARBARA ABERCROMBIE - V.P. of Human Resources

4. ANNA SATTERFEILD - Director of Employee Support
Services

5. JERRY R. STRAWSER - Vice President of Finance &
Administration and CEO

6. JANELLE RAMIREZ - Interim Associate Vice President
7. SHERI YETTER - HR Administrator PPR

8. CARMEN ESPITIA - Employee Relations Administrator
9. DON CUMBY - Human Resources Investigator
10. WANDA BOYD - Senior PPR Specialist
11. CHRISTOPHER MEYER - Associate Vice President
12. CHRISTINA ROBERTSON - EHS Director
13. JAMES B. RAINER - EHS Assistant Director

14. BRADLEY D. URBANCZYK - EHS Assistant Director

15. DAVID ZEIGER - EHS Fire Safety Manager

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SWATI G. KALE - EHS Occupational Safety & Health
Inspector Supervisor

JOHN R. FIELDS - EHS Occupational Safety & Health
Inspector Supervisor

SUSAN KARLI - EHS Business Administrator 1
KRISTEN ROBINSON - EHS Assistant Manager
DAVE RICE - EHS Assistant Manager

MONICA HARTMAN - EHS Assistant Manager

MICHAEL R. BOWE - EHS Occupational Safety & Health
Inspector ll

TASSIE HERMANN - Environmental Compliance
Supervisor

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CONFLICT OF INTEREST:

 

 

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1. KammeO incorporates all other provisions of this
pleading by reference as if set forth in full herein.

2. While the Plaintiff worked for/with the Defendants Texas
A&M University Human Resources (“TAMU HR”) was named in
part, “Policy & Practice Review” (“PPR”).

3. VP JERRY STRAWSER. was over both Human Resources and

Environmental Health & Safety -where the Plaintiff was

 

employed before she asked HR to be enabled to do her
job, And explained what type of environment EHS was.
4. SHERI YETTER was the person the Plaintiff met with

February 3, 2014; after her Supervisor RICHARD FEGAN

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warned her, “If I were you I would find a job someplace
else.”' Right before he vacated withoutl as much. as a
farewell lunch on 02.10.2014.
_Plaintiff was asked if she would. be willing' to meet
again on February 6, 2014 - with BARBRA PARKER.
Plaintiff agreed.
February 6, 2014 CARMEN ESPITIA was there to fill in for
BARBRA PARKER because of the icy weather. SHERI YETTER
attended this meeting also.
Plaintiff explained how JAMES RAINER had refused to work
with her ever since 1999 and how she was not allowed to
perform her position description as FIRE INSPECTOR III.
Plaintiff also explained how the work environment had
been more hostile than usual, as she seemed to be
accused of random issues about every three months:
a.Told “Go home and change out of her costume” at
Halloween, when she wasn’t wearing one. That
RICHARD FEGAN had tried to tell JAMES RAINER that
the Plaintiff was not wearing a Halloween costume,
but RICHARD FEGAN told the Plaintiff, JAMES RAINER

told him to tell her anyway.

 

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b.There had been no directive NOT to dress for
Halloween.
c.This is one of assorted instances of the hostile
work environment the Plaintiff explained in the

2015-2016 written complaints to TAMU HR PPR.

Plaintiff also explained the history of how JAMES RAINER
mentored the younger men and took them everywhere with
him and how the Plaintiff had been on campus with JAMES
RAINER to only one meeting at Physical Plant back in
2000.

Plaintiff explained how she had met with CHRIS MEYER in
2007, when JAMES RAINER told the Plaintiff, “The reason

She did not get an INTERVIEW fOr the CONSTRUCTION FTRE

 

SAFETY SUPERVISOR position was because she did not have

 

CONSTRUCTION experience.” And how she pointed to the

 

U.S. Department of Labor CARPENTER Certificate she had
earned before transferring to Environmental Health &
Safety (EHS).

JAMES RAINER's mouth fell open that day and he backed

OUT of her office without explanation.

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12. Plaintiff had already been sitting there watching JAMES
RAINER inentor JOHN FELLERS and take hini everywhere -
until he became the Plaintiff’s second supervisor at
EHS, as JAMES RAINER was promoted into a position EHS
created for him.
13. Similar happen again in 2010 ~ Plaintiff had 11 years of
inspection experience, RICHARD FEGAN had none. JAMES
RAINER promoted the new part-timer.
14. Rather than repeat everything explained and submitted to
the Defendants 2015-2016 again the list of WRITTEN
COMPLAINTS that VP Strawser kept responding with letters

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stating no valid evidence” is included on the

Plaintiff'S initial 12.26.2017 COMPLAINT FORM:

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15. Plaintiff thought it reasonable that after having spoken

with HUMAN RESOURCES that she would be enabled to the
FIRE INSPECTOR III position. Because of the

POLICY: 08 . 01 . 01 .Ml . 01 STANDARD ADMINISTRATIVE PROCEDURE:

_ PROCEDURES FOR FILING COMPLAINTS

j 1.1 Many problems can be resolved through discussions between the complainant and
the immediate supervisor or department head, as appropriate The complainant or
supervisor is encouraged to contact Human Resources Employee Relations for
guidance The outcome of this process includes the full range of options ranging
from no action up to and including dismissal The supervisor or department will

promptly notify the University’s Title IX Coordinator if the complaint alleges
sexual harassment or another form ot`sex discrimination

 

16. JAMES RAINER was the Plaintiff’s DlRECT SUPERVISOR after
RICHARD FEGAN vacated 02.10.2014 and. he was too busy
mentoring the younger male ADAM CHAVARRIA to even
respond. to 'the Plaintiff’s emails, must less actually
make eye contact with her.

17. Plaintiff enabled JAMES RAINER to know what her annual
inspection assignments were by sending him the
information from previous years.

18. Plaintiff .believes that JAMES RAINER avoided_ sending
her an assignment list, so it might be more difficult to
compare the assignments between 2014 and the 2015

retaliatory OVERLOAD.

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08.01.01.M1.01:

.3 The University \vill take reasonable action to ensure that the complainant, the iv

respondent, Witnesses, and those participating in the investigation, are protected
from retaliation Employees Who retaliate against such persons will be subject to
disciplinaiy action up to and including dismissal This disciplinary action can be
taken at any time during or following an investigation of an illegal discrimination
sexual harassment or related retaliation complaint

 

19.

20.

Plaintiff believes the Defendants conspired to attackl
her rather than enable her to do her job, because BRAD
URBANCZYK was interviewed more than JAMES RAINER.

BRAD URBANCZYK was interviewed right before the
07.17.2015 VACATION SUSPENSION witnessed by CHRISTINA
ROBERTSON, (after SWATI KALE told the Plaintiff on
06.30.2015 she was treating everyone like a NEW EMPLOYEE,
starting fresh) and also before the 12.04.2015 CORRECTIVE
ACTION DOCUMENT that occurred only nine working days from
the 11.13.2015 email awarding the Plaintiff her use of
VACATION again; right after the 11.10.2015 CQMPLAINT
about the EYE WASH SHOWERS being YEARS behind inspection
on campus. (male inspectors, not suspended from

vacation)(Complaint UNANSWERED.)

21. The Plaintiff only crossed BRAD URBANCZYK’s path about

5-6 times in 2015-16.

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22. There's also the way the Plaintiff’s FIRST REPORT OF
INJURY was backdated after SUSAN KARLI told the Plaintiff
it was probably just age. And how unhelpful she was as
Liaison.

23. KAYE BALL did not notify the Plaintiff of the status of
the FIRST REPORT OF lNJURY until the Plaintiff contacted
HER on 07.14.2015.

24. The Plaintiff’s VACATION USE was SUSPENDED on
07.17.2015 the day after she declined signing the FMLA
application that the Defendants’ kept offering' and. re-
offering the Plaintiff between 06.26.2015 and finally a
witnessed meeting with the EHS Director CHRISTINA
ROBERTSON, by SWATI KALE on 07.29.2015. Plaintiff didn’t
sign anything and did not request FMLA.

25. All the whilei the pre formatted letter hoping to claim
the sick-leave the Plaintiff had used for non-neck,
regular endocrinologist appointments and shrink
appointments was written and waiting to terminate the
Plaintiff.

26. Defendants were aware the Plaintiff enjoyed going to
the “shrink”. She thought everyone ought to have one - is

like an emotional mirror that asks the right questions to

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lead a person to their own answers. Sort of like

“religion” minus the “Hell & Damnation” perceptions.

27. After the Plaintiff had been subjected to hostile work
environment for over 20 years, she went to the shrink for
logical conversation. lt was incredibly hostile and
retaliatory how the Defendants harassed the Plaintiff in
2015 and 2016. lt wasn’t the Plaintiff that went “postal”
- it was TEXAS A&M UNIVERSITY, College Station, Texas.

28. Plaintiff having to be PRO SE is both “retaliatory” and
somehow “healing” ~ as she has had to explain what
happened to her so MANY times, she has basically
memorized the dates, who, what, where and noticed that
while “CROSS TRAINING” was said so often in 2015 - there
was none. No plan. No nothing and only 2 “lnspector
meetings” in 2015.

29. Whatever Plaintiff may not have included within this
first amended complaint, is included within the written
complaints listed in DOCUMENT ONE.

30. TAMU was not timely with the response to any of the

Plaintiff’s written Complaints 2015-2016;

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31. 10 out of 12 of the “witnessed statements” in the
03.04.2016 66 page Amended Response to the EEOC by TAMU
are slanderous/liable.

32. EVERY timesheet approved for the Plaintiff by her
supervisors 1999-2016 = TlMELY. There was no time clock
at EHS. lt was just an imaginary way to harass the
Plaintiff. #HOSTILE WORK ENVIRONMENT

33. No promotions for the Plaintiff after meeting with
CHRISTOPHER MEYER in 2007 and her EXCEEDS evaluations

went to .MEETS 'until RlCHARD FEGAN got so fed. up with

 

whatever was going on, he wrote very COMPLIMENTARY things
on the Plaintiff’s evaluations before vacating.

34. lmagine working in an office 16+/- years where you hung
the sheetrock, built and installed the cabinets and
countertops and was isolated from your co-workers who had
been. moved across the hall where you could see JAMES
RAINER. go to that rooni daily' while lGNORlNG you exist
even though you were the one with the higher job position
title. And the men you worked with KNEW you weren't

allowed to perform the POSlTlON TlTLE you had.

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35. Plaintiff was treated disparagingly in so many ways she
learned_ to expect it even though she kept hoping the
Defendants would actually BE what they advertise.

36. AGGIELAND would have been better off if SHARP would
have OUTSOURCED human resources instead of tossing out
the working-class that cared about campus, because HR
sure didn’t care about them.

37. Plaintiff cannot believe that people who have college
degrees from a University justify decisions based on
simple math learned by most in first grade.

38. Out of about 850 Majors to choose from' at TAMU,
Plaintiff is convinced now that none of them are named
“lNTEGRlTY” and that “beware of false profit” isn’t about
religion.

39. Defendants sent the office home early 01.29.2016, (OFF
the clock) BEFORE CHRISTINA ROBERTSON, BRAD URBANCZYK,
SWATI KALE and JOHN FlELDS walked into the Plaintiff’s
office, shut the door and told her to pack up her things
and do not return. The termination letter reads “for work
performance” while the letter to VP Strawser was two
pages long and the Plaintiff did not get to read what it

said until 10.28.2016 but she had to get through reading

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the slander/liable comments about her first, some by
people she hardly knew and plenty' by people that she
worked with for 10-20 years.
40. AFTER the PLAlNTlET` was terminated 01.29.2016, TAMUS
Board of Regents met May 26, 2016 and voted to move HR

out from under VP Strawser and give it a new name too:

Barli)ara ll, nher@r©ml:))le l\lained lll@ tar tillman
R@s@urces and ©rganlzati@)nal Ettectiveness

May26,2016

41. May 2015, the same month of the “restructure” -
Plaintiff OPEN RECORDS requested her personnel file. Now
she has a letter to the TXAG from TAMU that refers to her

§ as MR.O to go with the “being female” evaluation.

Plaintiff politely explained that she is female to TREVOR

and he never replied. Someone else started having to be

who answered the Plaintiff’s emails, lf it had been an

l accident - he would have apologized.

42. The younger male that JAMES RAINER mentored that went
from. student worker, to TECH ll, to CONSTRUCTION FIRE
SAFETY MANANGER a year later- - signed inspections as
12.13.2013 that show to have been DEMOLISHED 2012. TXFMO

knows, but ignores the Plaintiff who alerted them 2016.

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CAUSE OF ACTION: DISCRIMIATION UNDER TITLE IX

1. KammeO incorporates all other provisions of this

pleading by reference as if set forth in full herein.

2. At all times relevant to this claim, KammeO was a full-

time employee of TEXAS A&M UNlVERSlTY, College Station,

Texas, an employer that receives federal assistance.

3. Title lX prohibits discrimination on the basis of sex by

any education prograni or activity receiving federal

assistance.

4. Environmental Health & Safety educates students, grad-

students, staff and faculty via assorted SAFETY TRAlNlNGS

and PRESENTATIONS across campus in person and online.

5. KammeO successfully taught FIRE SAFETY 2010-2013 and was

not informed. as to why JAMES RAINER. told her supervisor

 

RlCHARD FEGAN that she would no longer be giving any
presentations just as her position description was UPDATED
from SAFETY SPECIALIST to FIRE INSPECTOR III in September
of 2013; the description then included “presenting FIRE
SAFETY PRESENTATIONS” as well as “campus point of contact
for Fire Safety in the absence of the FIRE SAFETY MANAGER”.

She was not allowed to be that either. 09.01.2013-05.01.205

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TITLE IX

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6. Plaintiff passed the exams in 2005 with the other male
Fire lnspectors and was never enabled or asked to use her
Certifications for FLAME EFFECTS or PYROTECHNICS 2005-2016.
7. 2014-2016 EHS listed the younger male that JAMES RAINER
mentored for the CONSTRUCTION FIRE SAFETY MANAGER position,
as the contact for a BURN PERMlT.

8. The CONSTRUCTION FIRE SAFETY position was the one the
Plaintiff had applied for since 2007 and had been told by

JAMES RAINER “she did not get an interview because she did

 

not have CONSTRUCTION experience.” (She is a CARPENTER.)

 

9. Being the only female FIRE INPECTOR that JAMES RAINER
ever hired 1999-2016, (JOHN FELLERS hired a female in 2006
that worked for EHS less than 2 years) KammeO was denied
opportunity and inclusion, enduring years of employment
disparities because of her gender and previous hostile work

environment in CONSTRUCTION at TAMU. (The FIRE SAFETY

 

profession is notoriously “male”.)
10. KammeO believes this was in part because of her having
been discriminated against to begin with in 1996 by a very

biased interim supervisor that harassed her and wrote her

 

up for “being' female she is a distraction to the .male

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TITLE IX

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workers” and told her “he didn’t care if she could do the
job or not - FEMALES don’t belong in the Carpenter Shqp!
(lt was just the PROOF she had of how she had been treated

at work for accepting that Apprenticeship.)

 

 

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11. KammeO had been the first and the last female to
complete the U.S. Department of Labor CONSTRUCTION
Apprenticeship at TEXAS A&M UNIVERSITY. She was the only
female to work in that shop besides the Administrative
Assistant ever that she knew or heard of.

12. The Defendants claimed to have lost that 1996
evaluation and asked the Plaintiff to sign a different one.
That is when the Plaintiff let the Defendant know that she

had a copy, would they like one?

 

13. Plaintiff believes this is temporal proximity AND
discrimination, retaliation and. hostile work environment,
(mixed with WHISTLEBLOWER, and FMLA/WORKERS COMP issues

also) because of the Defendants’ BIAS against the Plaintiff

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for what happened TO HER in 1996; it affected the

 

Plaintiff’s employment opportunities for the next 20+/-
years, until she was eventually severely retaliated against
2015-2016 for having finally gone to HUMAN RESOURCES in
2014 and asked to be enabled to do her job; instead of just

meeting with the EHS Management again and the situation be

 

lGNORED.

14. Plaintiff met with EHS management herself in 2007 - it
was CHRISTOPHER MEYER and in 2010 with JOHN SALSMAN and
CHRlSTOPHER MEYER again. And at no time did they arrange
any meeting or discussion between the Plaintiff and JAMES
RAINER. And the only thing that changed for her was her
workload of inspections - of PlCNlC SHELTERS and BARNS.

08 . 01 . 01 .Ml . 01 STANDARD ADMINISTRATIVE PROCEDURE:

t l. PROCEDURES FOR FILING COMPLAINTS

l.l Many problems can be resolved through discussions between the complainant and
the immediate supervisor or department head, as appropriate The complainant or
supervisor is encouraged to contact Human Resources Employee Relations for
guidance The outcome of this process includes the full range of options ranging
from no action up to and including dismissal The supervisor or department Will
promptly notify the University’s Title IX Coordinator if the complaint alleges
sexual harassment or another form of sex discrimination,

 

 

 

 

j 1.2.3 P&PR will promptly notify the University’s Title IX Coordinator if the
' complaint alleges sexual harassment or another form of sex discrimination
(if applicable).

 

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAIN'I‘ 4:17~CV-O387'7
TITLE IX

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15. Plaintiff believes JAMES RAINER did not know about the

1996 “being female” discrimination until AFTER she had been

 

hired to inspect the female dorm rooms for Fire Safety.

16. The VP of Physical Plant, CHARLES SlPPlAL, had been
made lN'l`ERlM DlRECTOR OF HUMAN RESOURCES just as the
Plaintiff changed departments from PHYSICAL PLANT to
ENVIRONMENTAL HEALTH AND SAFETY in late 1999.

17. HUMAN RESOURCES did not follow through and distribute
the Plaintiff’s EXlT lNTERVlEW from 09.21.1999 as promised.
18. Following a 2014 HR meeting with the Defendants, where
the Plaintiff asked to be allowed to learn and perform the
FIRE lNSPECTOR lll position description that she already
had, the Defendants organized a complete restructure of
Environmental Health and Safety instead.

19. Plaintiff suffered neck pain and intermittent hearing
loss, an injury from the 26.5' of scrolling on the iPad
FIREHOUSE application the Defendants refused to do anything
about 2012-2016.

20. ln retaliation for having submitted a FIRST REPORT OF
INJURY 03.27.2015 the form was back-dated by SUSAN KARLl on

April 1, 2015. After SUSAN KARLl came to the Plaintiff to

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877
TITLE lX

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ask. her about her injury, telling the Plaintiff “it 'was

 

pgobably just¢age.” *Violation of the AGE Discrimination
in Employment Act (ADEA) of 1967

21. APRlL 21, 2015 the “restructure” was announced to
almost everyone except KammeO.

22. was removed from FIRE SAFETY after +/-16 years, while
the full-time Fire Safety lnspectors, who were MALE were
assigned to kept working with/for JAMES RAINER. The even
renamed it CONSTRUCTION FIRE SAFETY.

23. ln retaliation for meeting with SHERI YETTER and CARMEN
ESPITIA stating she has a right to be free from
discrimination and enabled to perform. her position
description as FIRE lNSPECTOR lll as an employee of a
federally funded educational institution, TEXAS A&M
UNlVERSlTY.

24. As a direct and proximate result of Defendant’s
retaliatory conduct in violation of Title lX, KammeO `has
and will continue to be deprived of wages, fringe benefits,
status, seniority, and other advantages of employment.
Additionally, KammeO has, and will continue to experience,

mental anguish, humiliation, damage to her reputation,

PLAINTIFF KAMME O’s UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877
TITLE IX

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physical pain of her neck from the strain of that 26.5’ of

scrolling inspection application 2012-2016, and other
embarrassment, resulting from Defendants’ violation of

Title lX.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877
TITLE IX

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iPAD & 26.5’ of Scrolling

Plaintiff believes the Defendants were negligent in that
they ignored the many issues concerning the iPad and the
FlREHOUSE application that failed often, had 26.5’ of
scrolling front top to bottom. from December 2012 until
February 2015, created FALSE dates of inspection and
caused pain and injury to the Plaintiff’s neck and right
ear.

Even after Plaintiff offered OPTlONAL available
inspection programs, offered LlSTS of corrections and
suggestions. Defendants failed to acknowledge the
Plaintiff’s assorted attempts to improve the inspection
application situation and refused to acknowledge the iPad
FIREHOUSE application was tedious, slow, barely
functioning inspection program that went without for
years, many corrections and edits s instead blaming the
Plaintiff for “work performance” issues and eventually
wrongfully terminating her 23+ years of employment with
TAMU as well as causing injury to her neck from. the

ergonomic strain 2012-2016.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17~CV~O3877

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FLMA FORCE ATTEMPTS 2015
1. KammeO incorporates all other provisions of this
pleading by reference as if set forth in full herein.
2. Defendants attempted to force the Plaintiff into

applying for FMLA by suspending (without warning) the

 

Plaintiff from being able to use vacation leave from July

 

\
17, 2015 until November 13, 2015.

 

3. November 10, 2015 the Plaintiff submitted a written

Complaint to TAMU PPR Of EVIDENCE that the EYE-WASH-SHOWERS

 

on campus were/are years behind. inspection, inspected. by

 

male employees who are also supervised by SWATl KALE.
#WHISTLEBLOWER
4. To the Plaintiff’s knowledge, no one else she ever knew
at TEXAS A&M UNlVERSlTY 1992-2016 had ever been suspended
indefinitely from using vacation.

EMLA OFFERED FCUR TIMES
5. FMLA was offered to the Plaintiff from June 2015 until
the end of July 2015.
6. First, in a meeting with SUSAN KARLI.
7. Second, by email the next week after Plaintiff denied
signing the application in SUSAN KARLl’s office.

8. Third, by email reminder.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877
FMLA FORCE ATTEMPS - after lSt REPORT OF INJURY BACKDATED fOr “Old age”

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9. Fourth, in a meeting with EHS Director CHRlSTlNA
ROBERTSON, witnessed by the Plaintiff’s Supervisor SWATl
KALE.

BACK-DATED FIRST REPORT OF INJURY

 

10. April 1, 2015 - SUSAN KARLl back-dated the FIRST REPORT
OF lNJURY from MARCH 27, 2015 to OCTOBER 1, 2015, causing
it to be DISMISSED.

DISCRIMINATION based on AGE

 

ll. April l, 2015 - SUSAN KARLI told the Plaintiff that the
neck and ear pain was “probably just old age”; in violation
of the Age Discrimination Employment Act, ADEA.

ANONYMOUS RETALITION

 

12. Plaintiff received notice from HR PPR December 1, 2015

 

that an “anonymous” complaint had been filed against her.

13. December 16, 2015 when TAMU HR DON CRUMBY informed the

 

PLAlNTlFF of the 2nd anonymous complaint, as she arrived to

the meeting at HR for the 1St one.

 

14. DON CUMBY told the Plaintiff, “Both complaints

basically say they are afraid to work with you, they are

lafraid you are going to go POSTAL.”

15. Plaintiff smiled and said, “You know what that means

 

don’t you? That means THEY think THEY would go POSTAL given

 

PLAIN'I`IFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877
FMLA FORCE ATTEMPS - after lSt REPORT OF INJURY BACKDATED fOr “Old age”

thislasasile?-cyi€§e§ningcumenszni<lii|eduiml>e$llon %tl/l€erPeseaZeu)f ante
to slow down.
17. The environment was certainly “POSTAL" at Environmental
Health & Safety but it was not due to the Plaintiff’s
behavior.
18. Plaintiff apologizes to the Court for any repetitive
information in this Amended. Complaint. ~ it has all been
rather overwhelming to puzzle together and write about.
Texas Causes of Action
4l. Damages

B. Personal-|niurv Damases

 

§3. Mental Anguish

In a personal-injury case, a plaintiff can recover damages for past and future mental anguish
Texas P]C_General Negligence, Intentional Personal Torts & \\'-’orl<ers’ Compensation

(2014), P]C 283 & cmt.

 

 

19. The Plaintiff’s neck still aches if she looks down. She

has been without insurance since the 2016 termination.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-038'77
FMLA FORCE ATTEMPS - after 1St REPORT OF INJURY BACKDATED for “Old age”

Case 4:17-cV-O3877 Document 23 Filed in TXSD on 04/11/18 Page 30 of 47
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the RETALITION' they' have been witnessing' against me for
months.”
16. Plaintiff knew she had been sitting at her desk wearing

headphones, pecking on that iPad and keeping notes of all

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2016 RETALITORY TERMINATION

The elements of a Whist|eblower cause of action are contained in section 554.002 of the government code: l

A state or local governmental entity may not suspend or terminate the employment of. or take
other adverse personnel action against a public employee Who in good faith reports a
violation of law by the employing governmental entity or another public employee to an
appropriate law enforcement authority

 

(1) Plaintiff

in good faith reported a violation lof law:

11.10.2015 a WRlTTEN COMPLAINT to the Defendants, TAMU

HR PPR,

COnCerning the EYE WASH SHOWER INSPECTICNS

 

being YEARS B___§HIND and that the male inspectors that

also worked for SWATI KALE had been not suspended from

their vacation time .

 

11.13.2015 Plaintiff received an email from SWATl KALE:

From:
To:

Cc:
Sul)ject:
Date:

§ale, Swati G

0 Kamme

Urbancgk, Bradlgy D
Annual_/Vai:al:ion Lc-ave

Friday, November 13, 2015 11:38:26 Al`~i

 

1 l<amme O,

Due to the progress shown in the recent reports, the restriction on your annual/vacation leave is

being removed

Based on the future evaluations the restriction may be reinstated

: Thanks,
§watz

SWatl Kale § OS&H inspector Supervisor
Environmental Health and Safety § Texas A&l\/l University
§ 4472 TAl\/lU | College Station, TX 77843-4472

' ph: 979.845.7067 | fax: 979.845.1348 § Mti=ll@lamll.£dll

§ n's nme for rean A&lvl

 

 

PLAIN'I' IFF KAMME

O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

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(2) Plaintiff in good faith made her report to an
appropriate law enforcement authority:
a)Plaintiff was “taught” by EHS that 'TEXAS A&M
UNIVERSITY is “exempt” from OSHA - from what the
Plaintiff understands, OSHA has to be invited by the
Defendant or the Governor can request TAMU be
inspected. (Plaintiff suggested that to him - no
answer as of yet.)

b) 11.10.2015 Plaintiff submitted a WRITTEN COMPLAINT to

 

the Defendants that went UNANSWERED.

 

j. 01-05-2016 TAl\/‘lU Policy & Practice Revievv investigation Extension Letter §
o 10/22/2015 Performance Pian Vague, "**10-22-2015 to 01-05-2015: 43 vvorking days.
o 10/22/2015 Discriminated Against, *10-22-2015 to XXX-XX-XXXX: 43 Working days.

o 11/10/2015 Eye-Wash Shovver Complaint) d*`11-10-2¢.',’¢.'|.5 to 01-05-2015: 28 vvorking days §

 

c) Plaintiff contacted the EEOC, Congressman BILL FLORES,
Senator TED CRUISE, Senator JOHN CORNYN and 1600
Pennsylvania Avenue Washington D.C. President OBAMA,
the TEXAS STATE FIRE MARSHAL, University Police and
the GOVERNOR about the behaviors and SAFETY ISSUES the

Plaintiff was/is aware of.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

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(3) Plaintiff was terminated in retaliation for making a
report:
a) FIVE working days after the 11.13.2015 email from
SWATI KALE for “progress” - on NOVEMBER 20, 2015 SWATI
KALE stood over her desk, beating her fist, yelling at

the Plaintiff for over an hour - while a crowd of EHS

 

employees listened from the hallway and did nothing.

 

(Plaintiff never yelled or even yelled back at anyone
at work, “on the clock”, ever.)

1. Plaintiff thinks it is ironic that the
Defendants put a female (work visa manipulation?)
in. the jposition tx) be the one to retaliate in
2015-2016 against the Plaintiff, while the
“churchy” man that Plaintiff has known since the
days of PTTS sat by as the witness not wanting to
be there. And each witness statement listed with
their names slandered the Plaintiff.

b) The 11.20.2015 meeting' was witnessed. by JOHN EL
FIELDS.
(The IRONY is they were all probably afraid for THEIR

“jobs”, including SWATI KALE, all the way back to 1995

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV~O3877

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and VP GASTON’s decision to give the Plaintiff a PAY
CUT for accepting that Apprenticeship.)
(Maybe JOB applications ought not list male/female.)
c) Plaintiff submitted_ a written complaint to the

Defendants 12.01.2015 about 11.20.2015.

 

d) The 03.04.2016 EEOC Amended Response from the

Defendants reads that the investigators listened to an

 

audio of the 11.20.2015 meeting on JANUARY 4, 2016.

e) JANUARY 21, 2016 VP STRAWSER (who was over HR and
EHS until 08.01.2016) issued the “final” determination
Of the Plaintiff’$ 12.01.2015 COMPLAINT to TAMU HR PPR
as:

1

" The investigative authority found "that thereis no evidence to support ivls. O’s allegation that N|s Ka|e' s attitude and le. l<aie
1lasi<ing l\/ls. 0 to abide by her 8: 00 a. m. to 5: 00 p. m. schedule were retaliatory actions taken against Ms. 0 for her previously filing
complaints of discrimination

l have carefully reviewed and considered your complaint and the investigation report with exhibits and agree Wlth the investigative
§ authority's findings Any appeal of this decision must be in accordance with A&l\/l System Regulation 08.01.01, Civii Rights
Compliance, subsection, 4.5.1.

Dr. Jerry R. Strawser
Executive Vice President and Chief Financiai Officer

 

'PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

 

f)

'g)

h)

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NINE working days after the 11.13.2015 “WORK PROGRESS”
email from SWATI KALE, the Plaintiff received another
email from SWATI KALE the morning of 12.04.2015,

(NO MENT ION OF

l From: Kaie, S\.-vati G

THE WITNESS) Sent: Friday, December 04, 2015 9:15 Ai\/i
f To: O, Karnme <i<ammeo@tamu.edu>
and WaS issued Subject: i\/ieeting today at 11:00

a “coRREcTIvE '_§KammeO,

 

ACTION// § i Wouid iii<e to meet Witin you at 11am today in my office.
document for §§nw"w)

Swat£
“being behind Swati i(aie § OS&i-i inspector Supervisor

Environrnentai Health and Safety § Texas A&i\/i University
Ol'l 4472 TAi\/iU § College Station, TX 77843-4472
inspections", ph; 979.345.7067 § fax; 979.345.1348 §Mnll@temn.edu
DO Sp@CifiCS . it’s Time for Texas A&iVi

 

Plaintiff was

terminated on January 29, 2016 without warning by EHS
Director CHRISTINA ROBERSTON, Assistant Director
BRADLEY URBANCZYK and Supervisors SWATI KALE and JOHN
R. FIELDS, after the office was sent home early off the
clock.

The witness statements of persons listed on the

Defendant list slandered the plaintiff to the EEOC.

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-Cv-O38'7'7

___`_._

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12-01-2015 Complaint-l DARE YO\J. (l\iovember 20, 2015 meeting)

12-01-2015 Notice of Atnonymous Complaint

December 2, 2015 - Swati Kaie approved Vacation Leave @3:46pm for 3:00.

December 4, 2015 - 930am emaii for 11am meeting - CORRECTIVE ACTibN Document. (9

working days after the 11/13 emaii about PROGRESS/Vacation use available.) Swati i<aie insisted

any`response be written there in front of her & John Fields.

12-013-2015 Email Appeai to Strawser.

12-0?~2015 Complaint - ”Ahead or Behind"'

Texas A&Ni Uni\
Environmentai Heait
979.845.2132 44')_

Fire & Life Safety lnspe

 

 

 

 

3 `~ 'rvr_ar`cnzz,»zota_z

'§. ,j4_62~Acac1emic-eldg § 'f
~ '.»377. HOH?¥'P"_‘_$T `
.§`_’ corl'e‘g_e_st`étion,f.'rx'77843 'i;

An inspection of your facility on i\/iar 22. 2013 revealed the discrepan-

Pleese address all items on this report with the appropriate personne
taken. "

 

Vlo|a!lon Code

10.614 (FacSvcs) Fire/'Smoke spread: Other

Note "Ro“o_f_Door at the very top of,cio`m`e`is'missing;_
412, 1 iSA - Fioo'i' penetrationl conduit not filied.

 

 

 

Out of Dat`e Shower Tests `

1220-1228 Animai isolation Bui|dings - 2012

1503 Hebgood -_2`013

09 69 Bus'Operations --2012 _
1040 Cardiovascuiar Pathoiogy Lab =- 2013
2944'Center for Fooci Safety - 2013

_0971 commissary othing - 2013

0516 computing intimation system - 2009
7063 `Conservation Resea rch l_ab - 2013
0513 Doherty - 2013

1232 Equine Paviiion` - 2010

0495 Harrington Education Ce nter Office - 2010
1165 Hazarcious Waste Storage - 2013

1297 Heat 'iransfer Research'.-'ZDOG,

1098 Hyperbarrc Re§ea_rch Lab - 2013

0432 Langr'ord Architecture Center - 2009
0740 lVicN_eW Lab -' 2011

1505 t~.ieat Scieiice and Technoiogy -' 2009

.7441 Riverside Pump$tation - 2013

1095 i\luciear Science Center - 2013 .
0970 Physicei Piant-Grouncls iviaintenance -_2011
0957 Purcha`sin`g and Stores - 2013

1560 necre'ational sports complex - 2011

04?8` Scoates i-tail - 2013

0806 SOii Testing Lab -_2013

19 04 Texas_ Ce nter for Preciinicai Stur]ies - 2013
0958 Transponation services-2013

7090 m safety preston iiangar - 2013'

1085 i.feterinan,' Sm_aii Animal Hospitaf --2013
4050 Waae water Treat'ment - 2013-

30'04 TEsx'\vaste Wa'terlab - 2013

8578 Water Lab at Centrai Utiiity Piantj- 2013
4053 W't'\"`i`P Disinfection Lab - 2012

 

 

Plaintiff respectfully reguests an Attorney from the Court

 

 

 

 

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

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` 1231/testing 1;

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eastman
gilNSPgCT klm

‘M§? Supervia@r MEE,- eelse. ‘”
(-'Ilhen he wposit-i.on.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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estimation ! Acc §;;:§ oia)~oiurv L:§ _c»rtienrs:va-i);-t»c-lotv)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-03877

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WHAT TYPE OF EMPLOYEE WAS THE PLAiNTiFF WHILE Ei\/iPLOYED AT TAiViU? 4:17-cV-03877

WHAT TYPE OF EMPLOYEE WAS THE PLAINTIFF?

1. 1992-1955 PARKING TRAFFIC & TRANSIT SERVICES:

 

armour
‘§Qo~\¢ ins

tow or not to fow? ' jt .V time

     
  
 
 
 

 

 

 

iosF_PH ca;£NWDWt§ seriatim

Anne.Rosomond, o junior biology mo§or from Houston, toiks a PTTS PTi'S did nol know who to bill the tickets to, so they wererjgoing to'
oiiicer out of impoundin{g)'her core on Spence street, near the impound their_cor.' When Rosomond o reed to toi<e res .".i iiiiy for
Puviiion. Rosomond had ur unpaid parking tickets cnd- said that the unpaid fici<eis, the oi:iicer decided.to et her»ieovewi hercar_ ~

 

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x nATe THE P.T.T.s. THE¥ RE A BuNcH on ..JHEY cAN A

l’ liATe 't=.r-\, renew No 6001>, FASc\.sT, PiEcE- ______ UM___ Howww_oy_
I nATe’i-=MLIWE,E,, oF-KAE,PARKrNo NAzrs!

 

 
  

   

 

Def§t@it"?,ntp wi itt
z .swi mam, BEA\mm

§£$T`TKK§°:§ '
' RKEDEWR\TH}€ P.T.T.S.

 

 

 

 

 

 

VHL fla IJ|J.\'¢I.I.IB E`Ml.“

02)'22!94 5 Lee.ve of Absealce (.75 hrs. vacation]

02123!94 1 Memo; Promotion to PSO 11
03)'01!94 thor 03!02!94 . Leeve of Absence (11.75 hre. sick)

03!111'94 ' Oft`ice of Cont. Edueolion Cernficate

031171~'94 “ cmta¢ee= newman com skins

 

PLAINTIFF KAMME O’S UNOPPOSEDv FIRST AMENDED COMPLAINT 4:17-CV-O3877

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WHAT TYPE OF EMPLOYEE WAS THE PLAiNTiFF WHiLE EMPLOYED AT TAi\/iU? 4:17-Cv-03877

 

Tuesday, ]anuary 25, 1994§~

 

Directions, please

 

I(mm Nt)lnmil:iW`HL' B/\'i‘r,\uuN

Officer No. 265 of the University Poiice Department directs cars away from Lubbock Street Monday.
Lubboci< Street, on the south side of campus, wiii remain closed through ian. 28.

 

 

Kamme Wilson has been employed §with this department as a Parking ServicelefEcer since
August 13, 1992. During her time at PTI'S we have been pleased with her performance and
will be sorry to lose her if she decides to make a job change.

Ms. Wi|son’s assertiveness and organizational skills have been tremendousiy helpful in her job
responsibilities Her capabilities in working with others contributed to her promotion to Parlcing
Services Officer II (training) late last year lt is typical for her to act responsiny and
conscientiously.

Kamme- was very supportive when the leadership of the Parking Services unit changed last
November. She has condoned to support new ideas and often offers suggestions to improve our
processes She is a self-starter and would be an asset to any organization

.-',._e.., ., '. ~. _ ,» _ w ,,- ¢.. »~ »._ ¢_» .… ¢¢.. ¢,._,_ 'r_., ,_

PLAINTIFF KAIVME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

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WHAT TYPE OF EMPLOYEE WAS THE PLA|NT|FF WH|LE EMPLOYED AT TAMU? 4:17-Cv-03877

 
  

 
 
    
    
   
  
   
   
  
  
 
  
  
 

  

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PLAINTIFF K.AMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV~O3877

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WHAT TYPE OF EMPLOYEE WAS THE PLA|NT|FF WHILE EMPLOYED AT TA|VIU? 4:17-cV-03877

2. 1995-1999 TAMU PHYSICAL PLANT:

    
  
  
   
   
   
   
    
   
   
    
 
  
 

r-Ax (mo¢e-W=>i Aug_l$l ?4. '19:95
Exscul‘lve
D'rector
MEMORANDUM
TOc Dr. Jerry Gaston
~ |meri'n Vice Presidem
for Finanoe and Adn'¢inistralion

SUBJECT: Translers to aner F_ay Classifx:atiom

We haire-recently completed the selection process for new apprentices to begin training'ln
our Appren!!ceship Program on Seplember 1 . We selected mo current adversity employees who are .,
serving in a claasi!icalio-n range higher than that el a beginning apprentice TAMU PPM 215 states lhal in .
cases such as this. authorization to transfer an employee to a lower olassiioation must be requested by
memorandum to the president or his designee for approval Aworr:l'ngly. the following data is submitted

Narne erert Frm.'re Current P_roposed Funding

- destination G!a.ssiliwion Pay pay Souree
Jose Sanchez 17 1 4 [7.02mr] 7.97mr 750/hr 2701 60
iteman 13 11 (6.36€|1] 6.79mr 858/hr 270190

Sinoe neither ct these selectees possess any appredab|e skills mtp¢sses'sed by other
semees,we real;y mm iusn`ty paying them at their current ralec. however in fairness lo all ooneemed. l
a_m reeommending a pay rate halt way between their cl.trrent late and that to be received by other new
apprerticee.

 
 

_/5:§`.;£;; Faiiiii§ ariz is ii maronng ira ,.,,i,i ,5:_¢5»=

fide .i.-ir sr r'_§_' ew' U;.a f

 

(Where Plaintiff learned ”men" are generally geared VlSUAL no matter WHO you are or what you do.)

Supervisor Remarks: (Required m all cases. Stress strong and weak points not covered above).

l:a/vwv\" <- lS Ql\ov~> ami C/)l)("lz;’m,'$ WNL*(` (Z$ 175 relai¢_¢)_

W_;LLQML§L waller w,"i/L Q$- we/m// as +l,_,

 

CUSl’vm*CS S'le law wev'l:»¢»} *c>l` A/V¢ We;aé. 90lMs` U'F `/'[€-

‘l'f`rtihee cue/ no+ QPPa/`wv+ 'lv me ci+ "H:\`s lhoil_‘/l'

 

PLAINTIFE' KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O3877

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OVERALL EvALuAhoN oF Pear=oaMAN _
( }Outstahcing ( )Exeeeds wedatlons ( ’Meebs expedatiohs ( )Does nollmaet expectations

Overall Comments:i<aw-mc is do:»~, am excuwa 30"- 5a if v~]»‘ +L~' 3df“""’"'"“"
di _`. 'rxw ,~_< w 556 +zd steven mr +r», +° +¢=<»Ue_- >‘144»¢@ $°"‘9 ‘
Wl'- @H,‘{-w'e am»¢} jeff,a.l:rr\j_' 'J'¢“‘| \i.)etl>w;~'l)~ lear cp.u»rl'_»¢"§. -

 
  
   

  
 
  
  

EMPLoveE-'s Commer~rrs ‘
|GN - TURES , tim with m
t = \. »' -’ that my sig)ature indicates omb/that thaw readand mesade performance evalua! y
' ,. . . mssan‘ mean w.ithth evaluations contents. lmayaltadr written
. `. .,-5` jt - . ..' z/t£‘i‘isi.:lryes}y ifco"rxrairién maeraarlad?ed.ordiackno_-fifeommentsarenotal£adted.
.L il ` 2 3a 1 M?
» . h ‘ 4 e' Supe ' Dala

 

Carpenter Kammr-: O. 7
W"ilson tells Willic g
Schulz how much it '
meant to her to have
him teach her how to
design and build
cabineliy. Willie retires
from Sam Young’s §
Construction Ct'ew l x
alter 15 years.

 

 

 

( )Outetanding ( )Exceeos expectations tx ,mae\= w,.,w.a..v.... \ ,_..-_..__._._

as far as her trainer will allow, however l have not seen a

- o onl . . _
§lgr:me|;‘riisciu*;iironrweAiF$/ogrk so ar has been completed on a time schedule that is acceptable

 
  
 
     

PLAINTIFF KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-03877

 

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Evaluation:
( )Ou\standing (x )Exceeds expectations (

` - tomers. She does not
: e most always gets along w\th co workers and cus
rc'r:t(izttg'h`§|gitsngl;?r'\rerps and if asked will do other tasks not specific to the trade.

   
   
   
  
 
   
 
 
 
 
 
   
    
 

) Meets expectations ( )Does not meet expectations

   

Evaluation: 7 1
( )Cu\standing (x )Exceeds expectations ( )Meets expectations ( )Does not meet expectahons
. . . to
~ \n has lead her, Ms. Wllson understands what she_needs _ _
(\;€$vm&nst§e¢\;;§rsairs\fggr;\gtaio?t s e knows where to fund the answers and has her job prront\es
in order.

LL EvALuAnon ol= PERFoRMANcE .
(o;l§§:wnding ( ) Exceeds expectations (x ) Meets expectations ( ) Does not meet expectations

' : Kamme isla hard worker who gets along we|twith her trainer and_co~ §
grekrea:!s.c§hme"i`:gt:tember of the Phyeica| F‘\ant Emp\o e_e Adv\sory Counc\t. She carnes her 1:.:
end of the load and pays a great deal of attention to de arls.

 

Burean of Apprenticeship and Training
Certificate of Tnmpletion of Apprentireship
`r/'Ai.: is fo cer///`[y /Aa./

Kamme Owens Wilson
Aa: comp/e/eo/ an appren/jce.sé{`p /or [Ae occupa/z'on

Carpenter
ur.=Jer /Ae sponsors/bp of
Texas A&M University - Physical Plant Department

in accora’¢mce wi[.é /Ae 6a.r1'c dana/arc[r cf appren/z'ce.réip
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Auvust24 1998

 

'.D¢/¢ Cmp¢‘d.'{

PLAINTIFE' KAMME O’S UNOPPOSED FIRST AMENDED COMPLAINT 4:17-CV-O387'7

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WHAT TYPE OF EMPLOVEE WAS THE PLA|NT|FF WH|LE E|VIPLOYED AT TAi\/|U? 4:17-cV-O3877

3. TAMU ENVIRONMENTAL HEALTH & SAFETY 1999-2016:

My 2006 Eva|uation Before |\/ieeting With the @TAi\r‘iU E|'iS Director in 2007 about
#Discrimiiiation Concerns....

Overail Pertormance Fiatirig:

 

m outstanding C°mmE"‘S °r Fe'f°"na"<=€ Eramnie¢ (required for rating ar ones Not user expedm¢s;;

~ i<ammeOiseHidematsdiedt¢in§and ti haass¢ '- .» v .
Exceeds Expecw“on given w her wm mooney msp ¢Dmpie ns gited insF€moi'is .Si'ie has met ali required deadinee thai l haire

 

 

 

1;] Meets Expoctati on

    
 

l:] Does Not Meet Expectation

Sui=Ei=ivrsoFi’s OvERAi.i_ ComMEN'rs: E| Ad<iaiionai commence are attached _
KammeO has shown great interest in furhtering her knowledge and ability to apply the tire
codes. She continues to be very meticulous in her inspections and cares abcut'the quality of her

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ wari¢.
1999-2016 Overa|l Eva|uations:
Voiunteered to draw cartoons for Safety Dispatch Newsietter. (2005-2010)
-_;SSS:ZQQ°_, _Safe,w<T_e.ch l__ __ a _£x.ceeds_ _____ iames.itaine.r_ i
2000-2001 Safety Tech | Exceeds James Rainer
__209;1_2_003 __ eS,af,etvle¢h,l_ , _iEz<_ceee-r»v _ _. _ . ,James.R_ainer _J
2002-2003 SafetyTech ii Exceeds James Rainer
_2_09§.-_2994 Safety.l'e§bil_i__ __ _.~ ,_E;<.i:e.ed§__ _ __i times R€i.i.n_e£v _i l€
2004-2005 Safety Tech |i Exceeds james Rainer
ZDOS,%ZQQS_ ,. §_afe.t.v]fe§b. ll . _ Ex.ce_e,d_s_._ , Jemes _Rain<z_; _i
2006~2007 SafetyTech i| Exceeds John Fellers
a 2007-2008 Safety§peciaiist Meets John Fellers ~_j
2008-2009 Safety Speciaiist M'eets .iohn Fellers
zoos:z.om \_,§_afew,spee_aiis,r weiss _. . t . .i __i<_)_'hn tellers , . l
2010-2011 Safety Speciaiist Meets Richa rd Fegan
2011-2012 safe;y_spe_qiaiisz Exc_eeds' menard regan l
2012-2013 Safety Specialist EXceeds Richard Fegan
2013-2044 _~_Fir,e inspecth i`ii, ,Ex,ceed`s names4 Rainer l
2014-2015 Fire inspector ill Achieves David Zeiger
2015-2016 Occupationai “Termination Swati Kaie
Sef.e_w.!!\spec,tor lil_ 9211_2-20_1§,

 

 

' v t '." 1 1- Q!LRI!N_QI Wo:k: Perlorms assigned duties accumi andiho h ' d ' n n
¢ha, make up lhs]r assigned dut]es. - ely mug 'V with only minimal envrs. Completes necessary steps

  

m Outstanding

g Exceeds Expectations

|:] Meets Expectations

|:] Does Not Meet Expec1atlons

Comments or Performanee Examples (required for rating of Does Nol Meel Expectatioris):
Kamme 0 conducts quaiity, thorough inspections with minimal or rio errors.

 

 

 

 

 

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Plaintiff requested her personnel file May of 2015:

"| i

 

     
    
    

Weci 7/29/2015.;3-.59 pin
O, l<amil‘ie_
' Op'en Recorois Request

  

‘tporemha@tamus.edu'

 

`l'hu E;?fi_"_'f!l$ 155 F\‘A

O, Kamme

» . § RE.' Yoi.rr Pubiic information Requests lO. Kamme 15-670, 15~671}
70 ‘Forerita, TrE.'or‘ `

 

Treuor,

Thank you for the update.

' Bytl‘re via\r, itwou_'.d be mmii more accurate if',.tiu addressed me as either “i'v'.¢s. O" m ‘li¢.'armneU'.

. i'm not sure haw you came up with "Mr. G’ -i assureku thatl am fama.§e, not maBa.

‘ iti`is ironic to bead:iressed as 'Mr. OF' after having been written up at TAMU in 1995 for-°i)eirxg female she is a distraction to the maiiav.rorf‘oers".
in the futuro, you maywant to chec’.?< who wm are addressirg rather titan assume

_ Thanks again,
KammeO

_ Kal'nme°!Fre|nspch:riii
nn emma Pamia;, ins 4472_ screw seem Teias?rB-ta
‘ Env'mima»r:a i-ieeiii and safety n Tms nar.i urivese;

pin grossman l fac maratsiai emme¢@iamuem

7 From: Poremha, Treroi' ]mai|to.@remba§tamusedu}
- Sent: `Ii'nirsday, Ai.€i;ist 20, 2015 1:12 PM
To: 0, item <kammeo @tamu.edu>

. ‘ Ec: SG-Qpeiii Rec¢i:'ds <Ognllecords@amus.ed ;TAMU Opeoi Reocirds <’o@n-rei:ords@ram.edu>

` Suhie¢t: ‘i'nur Ptib!ic: Enfo:rmation Hequests 10, Kamme 15-670, 15-571]

Mr. 0: l ` ' ` ` ' ` `

vw DID YOU KNOW?
7 ¢ \'oi.ir refrigerator should he set at cier

` below 40“ F‘.c> keep food saie.

 

l 4 Texas law requires all children younger
r.hari 5 years old and lessthan 36 inches
in height be properly restrained i':i a child
passenger safety seas

‘ Teuazs dump enough trash every mo
weeks to till the Astrod:)rrie.

- t'ou shouid run your fan cie:icriis-e during
the summer and ooun:er-ciocimi$ during
the winte¢.

0 Texas Re:yi:ies Day's November 15.

ENTER To wm A GREAT FALL PRle! Bo

you ir.i-ioi\.'wl~io iri\ented the hrst tire extin-

gu'=i_;'ia in 1513? Emaii your name. phone §. _ l , ` , 7

and answer to safe?_-d`:=patch@zarr.u.edu. or

dropitincammsmaiito$afetyDis;a’.chath-’o" wHA ’ wRoNG w TH|S PlcTuRE? C€""°"’

ariz we wm draw for me winner in octcter_ spot a'.l the seie:_.~i,ici'a‘.io'is? E.'naii your writers ',o se’§:;-dis:a:ch§;arr~.;.e:c for another
chance 10 'r.in a great orize!

 

 

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M
l. For these reasons, Plaintiff asks that the Defendants
TAMU, TAMUS, and attached list of Defendants, be cited to
appear and answer and, on final trial, that Plaintiff have
judgment against Defendants and the Court order relief that
includes the following:

l.Declare Defendants’ conduct to be in violation of
Plaintiff’s rights.

2.Award Plaintiff front pay and the value of lost
benefits for the period remaining until her normal
retirement age.

3.Award Plaintiff back pay and the value of lost benefits
up to the date of front pay accrual;

4.Award Plaintiff compensatory damages for emotional
pain, suffering, inconvenience, mental anguish and loss
of enjoyment of life;

5.Award PLAINTIFF exemplary damages;

6.Award PLAINTIFF medical expenses;

7.Award PLAINTIFF punitive damages;

S.Award PLAINTIFF special and nominal;

9.A written a ology.

   

aggiecarpentermom@gmail.com 979-575-1091

 

4:17-Cv-O387'7 PLAINTIFF KAMME O’S FIRST UNOPPOSED AMENDED COMPLAINT

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CERTIFICATE OF SERVICE
I hereby certify that on April 11, 2018, l mailed via U.S. Postal Service: a copy of
PLAINTIFF KAMME O’s UNOPPOSED FIRST AMENDED COMPLAINT to

Counsel for the Defendant as follows:

YVONNE D. BENNETT
Assistant Attorney General
General Litigation Division
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548

 

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